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                         EXHIBIT A
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                                                                      Implant                                                      Filing
No.       Plaintiff        Case No.    State        Lead Counsel                  Cat.   Short Description of Injury and Date
                                                                       Date                                                        Date
1     Anderson-Kuhn,       1:16-cv-   Alabama   MATTHEWS &           01/28/2010    7     Category 7: Perforation/Migration       1/22/2016
      Diana                00182                ASSOCIATES                               (12.14.2011)
2     Davidson, Toney      1:16-cv-   Alabama   THE GOSS LAW FIRM,   12/29/2007    3     Category 3: Lifelong ACs (4.18.2008)    8/25/2016
                           02265                P.C.
3     Davis, William J.    1:18-cv-   Alabama   THE MAHER LAW        12/30/2010    7     Category 3: Lifelong ACs (3.8.2012),    9/27/2018
                           02985                FIRM, P.A.                               Category 7: DVT (3.8.2012), Category
                                                                                         7: Occlusion (6.12.2015)
4     Garrison, Tina       1:16-cv-   Alabama   FARRIS, RILEY, &     09/12/2008    5     Category 5 Failed Retrieval             9/15/2016
                           02462                PITT, L.L.P                              (12.10.2008); Category 4 Unable to
                                                                                         Retrieve (same record)
5     Hrabowski,           1:18-cv-   Alabama   MATTHEWS &           01/11/2010    7     Category 7: Perforation (8.16.2011),    8/28/2018
      Adidas M.            02662                ASSOCIATES                               Category 7: Migration (3.8.2015)
      [ESTATE OF]
6     Kerr, Aimee          1:16-cv-   Alabama   LEVIN PAPANTONIO     06/03/2011    5     Category 5 Failed Retrieval             10/5/2016
                           02659                THOMAS MITCHELL                          (7.26.2011); Category 4 Unable to
                                                RAFFERTY &                               Retrieve (same record)
                                                PROCTOR, P.A.
7     Land, Steven         1:17-cv-   Alabama   WAGSTAFF &           04/01/2010    5     Category 5 Failed Retrieval (9.22.2010) 7/11/2017
                           02349                CARTMELL, LLP
8     Overton,             1:18-cv-   Alabama   NIEMEYER, GREBEL     10/26/2009    7     Categories 7d Migration, 7e             5/6/2016
      Stephanie            00845                & KRUSE, LLC                             Perforation, Category 5, Category 4     (initially
                                                                                         (claims supported by failed retrieval   filed as
                                                                                         record dated 6.16.2010)                 part of
                                                                                                                                 multi-
                                                                                                                                 plaintiff
                                                                                                                                 case no.
                                                                                                                                 1:17-cv-
                                                                                                                                 06065)
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No.        Plaintiff      Case No.    State       Lead Counsel                    Cat.   Short Description of Injury and Date
                                                                         Date                                                       Date
9     Perkins, Mary       1:19-cv-   Alabama   FENSTERSHEIB LAW     12/10/2009     3     Category 7(e) Perforation (1.31.2014),   1/14/2019
                          00132                GROUP, P.A.                               Category 7(f) PE (same record),
                                                                                         Category 3 Anticoagulaiton (2.4.2014)
10    Turner, Sonny       1:18-cv-   Alabama   CURTIS LAW GROUP     08/06/2013     7     Category 7(f) PE (11.18.2013)            4/6/2018
                          01059
11    White, Jerri and    1:18-cv-   Alabama   FARRIS, RILEY, &     10/05/2010     5     Category 5 Failed Retrieval (1.24.2011) 1/12/2018
      Jimmy               00101                PITT, L.L.P
12    Williams,           1:16-cv-   Alabama   GRUBER & GRUBER      03/04/2007     5     Category 5 Failed Retrieval              11/3/2016
      Stephanie           03014                                                          (7.18.2007); Category 4 Unable to
                                                                                         Retrieve (same record)
13    Cook, Nathaniel     1:17-cv-   Idaho     WILSHIRE LAW FIRM    09/30/2006     7     Category 7(e) Perforation (4.8.2010);    9/21/2017
                          03380                PLC                                       Category 5 Difficult Retrieval
                                                                                         (5.27.2010)
14    Corder, Lavonne     1:17-cv-   Idaho     LOPEZ MCHUGH LLP     04/12/2006     5     Category 5 Failed Retrieval (6.8.2006)   7/7/2017
      and Timothy         02327
15    Deleski, Terry      1:18-cv-   Idaho     JOHNSON LAW          10/02/2009     7     Category 7(a) Clot in Filter (10.29.2009 2/20/2018
      Ray                 00498                GROUP
16    Driver, Samantha    1:17-cv-   Idaho     WEITZ &              05/04/2010     5     Category 5 Failed Retrieval (3.11.2011) 9/14/2017
                          03262                LUXENBERG, P.C.
17    Horton, Glenda      1:16-cv-   Idaho     BRANCH LAW FIRM      10/03/2007     5     Category 5 Failed Retrieval (3.24.2008) 1/21/2016
                          00175
18    Pierson,            1:17-cv-   Idaho    BERTRAM & GRAF,    03/11/2014        6     Category 6 Perforation (7.9.2014);       9/15/2017
      Jermaine            03284               L.L.C.                                     Category 5 Failed Retrieval (8.5.2014)
19    Webster, Loriann    1:17-cv-   Idaho    AYLSTOCK, WITKIN,  10/27/2012        7     Category 7(e) Perforation (2.6.2015)     7/25/2017
                          02510               KREIS & OVERHOLTZ,
                                              PLLC
20    Bak, Brandon        1:17-cv-   Michigan MATTHEWS &         10/05/2005        7     Category 5: Failed Retrieval             6/13/2017
      Philip              01965               ASSOCIATES                                 (1.17.2006), Category 7 Perforation
                                                                                         (1.17.2006), Category 7: PE
                                                                                         (12.7.2005)

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No.        Plaintiff      Case No.    State       Lead Counsel                   Cat.   Short Description of Injury and Date
                                                                        Date                                                        Date
21    Ball, Janice        1:17-cv-   Michigan PETERSON &           09/05/2012     7     Category 7(e) Perforation and 7(i)        4/26/2017
                          01320               ASSOCIATES, P.C.                          Bleeding; Category 6 Tilt in Renal
                                                                                        Vein; Category 5 Failed Retrieval (all
                                                                                        claims supported by 10.17.2012 failed
                                                                                        retrieval record and 11.19.2012
                                                                                        successful retrieval record
22    Bartolotta, Eva     1:18-cv-   Michigan FLINT LAW FIRM, LLC 10/18/2004      7     Category 7: Perforation (9.2.2008)        1/26/2018
      and Michael         00230
23    Boone, Diondrae     1:19-cv-   Michigan FEARS NACHAWATI,     10/02/2015     5     Category 5 Two Failed Retrieval           5/22/2019
      and McLilly,        02047               PLLC                                      Attempts (12.7. 2015 and 12.18.2015)
      April
24    Bowie, Kenneth      1:19-cv-   Michigan AYLSTOCK, WITKIN,  01/29/2009       7     Category 7 Unspecified (5.7.2009);      2/14/2019
                          00666               KREIS & OVERHOLTZ,                        Category 4 Unable to Retrieve (same
                                              PLLC                                      record)
25    Clark, Robert W.    1:17-cv-   Michigan OSBORNE & FRANCIS 09/01/2011        5     Category 5 Failed Retrieval (12.6.2011) 5/16/2017
      & Andrea            01598               LAW FIRM, PLLC

26    Collins, Kerri      1:18-cv-   Michigan THE MAHER LAW        09/15/2010     5     Category 5 Failed Retrieval (3.3.2011):   9/19/2018
                          02901               FIRM, P.A.                                Category 4 Unable to Retrieve (same
                                                                                        record)
27    Delvalle, Sacha     1:18-cv-   Michigan SAUNDERS &           04/11/2007     7     Category 7: PE (7.25.2011), Category      8/1/2018
      E.                  02347               WALKER, P.A.                              5: Failed Retrieval (4.30.2007),
                                                                                        Category 6: Tilt/Perf (4.27.2007)
28    Devine, Kelly       1:19-cv-   Michigan FLINT LAW FIRM, LLC 10/22/2007      7     Category 7: Perforation (7.4.2014)        2/25/2019
                          00811
29    Dobies, Alan        1:17-cv-   Michigan SWEENEY MERRIGAN     05/14/2012     7     Category 7: Perf and Thrombosis and       8/4/2017
                          02631               LAW                                       Category 4: Unable to Retrieve
                                                                                        (7.23.2013), Category 3: Lifelong ACs
                                                                                        (7.29.2013)



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No.        Plaintiff      Case No.    State      Lead Counsel                   Cat.   Short Description of Injury and Date
                                                                       Date                                                       Date
30    Douglass, Tanja     1:17-cv-   Michigan LOPEZ MCHUGH LLP    11/16/2009     7     Category 7(a) Occlusion and 7(g) DVT     5/5/2017
      & Cornelius         01478                                                        (1.6.2010); Category 3 Occlusion
                                                                                       Below Filter (same record)
31    Driggers, Laura     1:16-cv-   Michigan GRUBER & GRUBER     06/08/2007     7     Category 7(a) Thrombus in Filter         11/4/2016
                          03032                                                        (5.21.2009)
32    Etheredge,          1:17-cv-   Michigan LAW OFFICES OF      12/30/2007     7     Category 3: Stenosis and Category 7:     9/19/2017
      Manda               03333               BAIRD BROWN                              DVT (6.19.2008)
33    Floyd, Stephen      1:17-cv-   Michigan SANDERS VIENER      01/22/2010     7     Category 7(e) Pain at implant site       4/21/2017
                          01256               GROSSMAN, LLP                            (2.3.2010 note discussing placement
                                                                                       record)
34    Ford, Corinthia     1:16-cv-   Michigan LOPEZ MCHUGH LLP    11/26/2012     7     Category 7(f) PE (12.22.2012);           12/15/2016
                          03388                                                        Category 7(g) DVT (same record)
35    Frey, Steve         1:17-cv-   Michigan BERTRAM & GRAF,     12/27/2011     6     Category 6 Filter Repositioning          11/10/2017
                          04197               L.L.C.                                   (12.30.2012)
36    Frost, Beverly      1:17-cv-   Michigan LAW OFFICES OF      02/10/2006     5     Category 5 Failed Retrieval (5.1.2006)   8/11/2017
                          02742               JEFFREY S.
                                              GLASSMAN
37    Hanners, Cynthia    1:19-cv-   Michigan LAW OFFICE OF       07/06/2011     6     Category 6 Filter Positioning (records   5/21/2019
      and Dustin          02031               CHRISTOPHER K.                           regarding hospitalizations dated
                                              JOHNSTON, LLC                            7.6.2011 and 1.18.2012)
38    Hayes, Melissa   1:17-cv-      Michigan BERTRAM & GRAF,     06/07/2008     5     Category 5 Failed Retrieval Attempt      5/3/2017
                       01417                  L.L.C.                                   (8.28.2008)
39    Hollebeek, David 1:16-cv-      Michigan BRANCH LAW FIRM     10/25/2008     5     Category 5 Failed Retrieval              1/21/2016
      and Julie        00174                                                           (1.15.2009); Category 4 Unable to
                                                                                       Retrieve (same record)
40    Hubert, George      1:17-cv-   Michigan MATTHEWS &          09/19/2013     7     Category 5: Complex Retrieval            6/12/2017
      F.                  01939               ASSOCIATES                               (9.19.2013), Category 7: PE
                                                                                       (11.13.2013)



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No.        Plaintiff     Case No.    State       Lead Counsel                   Cat.   Short Description of Injury and Date
                                                                       Date                                                        Date
41    Johnson, Gaylua    1:17-cv-   Michigan BARON & BUDD, P.C.    06/18/2003    7     Category 7: Occlusion/DVT                 5/5/2017
                         01468                                                         (10.15.2010), Category 3: Stenosis,
                                                                                       DVT recurrence, Acs (4.2.2014)
42    Johnson, Maria     1:17-cv-   Michigan SWEENEY MERRIGAN      02/01/2011    7     Category 4: Advised not to remove and     2/24/2017
      L.                 00608               LAW                                       Category 7: Perforation (6.28.2013)
43    Johnson, Ralph     1:18-cv-   Michigan LIEFF CABRASER        12/15/2005    7     Category 7: Perforation/Thrombosis        7/9/2018
      and Cynthia        02073               HEIMANN &                                 (10.4.2012)
                                             BERNSTEIN, LLP
44    Jones, Kandace     1:18-cv-   Michigan MCSWEENEY             06/11/2012    7     Category 7(a) Occlusion (10.24.2012       10/9/2018
                         03131               LANGEVIN LLC                              and 11.20.2012)
45    Loose, Teresa &    1:16-cv-   Michigan BABBITT & JOHNSON,    04/09/2007    7     Category 7: Perforation (6.2.2010)        12/16/2016
      Arnold             03399               P.A.
46    McCrear,           1:18-cv-   Michigan THE SNAPKA LAW        10/21/2011    7     Category 7: PE Death (9.15.2015)          11/14/2018
      Kymisha S.         03564               FIRM
      [ESTATE OF]
47    Miller, Scott     1:16-cv-    Michigan FLINT LAW FIRM, LLC 03/06/2008      5     Category 5 Failed Retrieval (5.27.2008) 10/25/2016
                        02901
48    Niemi, Judith     1:18-cv-    Michigan FLORIN ROEBIG, P.A.   01/11/2013    5     Category 5 Failed Retrieval (4.19.2013) 8/29/2018
                        02683
49    Nitz, Debra Ellen 1:18-cv-    Michigan THE GOSS LAW FIRM,    01/24/2008    6     Category 6 Tilt and Category 5 Failed     8/31/2018
                        02717                P.C.                                      Retrieval (only record submitted is
                                                                                       dated 9.22.2009)
50    Novak, Leslie      1:16-cv-   Michigan MURPHY LAW FIRM,      08/11/2010    5     Category 5 Failed Retrieval               10/6/2016
      Marie              02672               LLC                                       (10.26.2010); Category 4 Unable to
                                                                                       Retrieve (same record)
51    Robinson,          1:19-cv-   Michigan WEITZ &               05/01/2008    6     Category 6; Category 5 Failed Retrieval   2/19/2019
      Kathleen           00746               LUXENBERG, P.C.                           (claims supported by record dated
                                                                                       7.11.2008)
52    Scott, Loretta     1:19-cv-   Michigan ZONIES LAW LLC        01/18/2008    5     Category 5 Failed Retrieval (3.4.2008)    4/19/2019
                         01586

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No.        Plaintiff      Case No.    State      Lead Counsel                   Cat.   Short Description of Injury and Date
                                                                       Date                                                        Date
53    Sevelis, Rodney     1:18-cv-   Michigan WENDT LAW FIRM      03/15/2013     3     Category 3: Lifelong ACs (10.2.2013)      8/21/2018
                          02580
54    Simpson, Walter     1:18-cv-   Michigan LOPEZ MCHUGH LLP    11/26/2014     7     Category 7(a) Occlusion (2.27.2015);      4/2/2018
      and Christine       01016                                                        Category 5 Failed Retrieval (same
                                                                                       record)
55    Spyker, Mark        1:18-cv-   Michigan LOPEZ MCHUGH LLP    07/09/2008     7     Category 7: Thrombotic Occlusion          6/29/2018
                          02010                                                        (8.13.2010)
56    Straub, Josie       1:18-cv-   Michigan WENDT LAW FIRM      08/05/2009     3     Category 3: Lifelong ACs (6.19.2012)      8/21/2018
                          02582
57    Tyson, Derek A.     1:19-cv-   Michigan JAMES, VERNON &     04/21/2007     7     Category 7: PE (4.27.2015)                5/17/2019
      and Clara Johson    01979               WEEKS, P.A.
58    Versluis, Scott     1:17-cv-   Michigan MARTIN BAUGHMAN,    02/04/2012     5     Category 5 Failed Retrieval (4.9.2012)    1/26/2017
                          00266               PLLC
59    Warren,             1:17-cv-   Michigan SANDERS VIENER      02/20/2013     7     Category 7(d) Pain at implant site        4/20/2017
      Hezekiah            01241               GROSSMAN, LLP                            (2.15.3013)
60    Abbott, Donald      1:19-cv-   Texas    TORHOERMAN LAW,     10/09/2006     4     Category 4 Unable to Retrieve             1/28/2019
                          00436               LLC                                      (8.22.2007)
61    Addison, Robert     1:16-cv-   Texas    MURPHY LAW FIRM,    08/28/2009     7     Category 7(f) recurrent PE (1.20.2012     12/30/2016
      Shelton             03522               LLC                                      and 12.5.2011)
62    Barrett, LaToya     1:17-cv-   Texas    MARTIN BAUGHMAN,    03/12/2007     5     Category 5 Failed Retrieval (3.28.2007)   1/12/2017
                          00128               PLLC
63    Beard, Amber        1:17-cv-   Texas    FLEMING, NOLEN &    02/25/2010     5     Category 5 Failed Retrieval (5.7.2010)    2/15/2017
                          00480               JEZ, L.L.P.
64    Bell, Paul L.       1:17-cv-   Texas    MATTHEWS &          08/18/2009     7     Category 7: Perforation and Fracture    6/13/2017
                          01976               ASSOCIATES                               (2.13.2013), Category 7: Thrombosis
                                                                                       (2.23.2013)
65    Benavides,          1:17-cv-   Texas    LOPEZ MCHUGH LLP    11/10/2010     5     Category 5 Failed Retrieval (9.14.2011) 6/15/2017
      Armando             02047
      [ESTATE]


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No.        Plaintiff      Case No.    State       Lead Counsel                   Cat.   Short Description of Injury and Date
                                                                        Date                                                        Date
66    Boatner, Heidi      1:15-cv-   Texas    BABBITT & JOHNSON,   05/19/2010     7     Category 7: Perforation (9.22.2010)       7/28/2015
                          01187               P.A.
67    Boggs, Audra        1:18-cv-   Texas    THE MOODY LAW        05/14/2014     6     Category 6: Perforation (5.19.2010)       3/26/2018
                          00958               FIRM, INC.
68    Bothe, Chance       1:17-cv-   Texas    MCEWEN LAW FIRM      01/26/2012     6     Category 6 Migration (8.31.2012);       8/31/2017
                          03013               LTD                                       Category 5 Failed Retrieval (same
                                                                                        record)
69    Bowen, Jasmine      1:17-cv-   Texas    MCSWEENEY            01/15/2014     5     Category 5 Failed Retrieval (3.19.2014) 8/9/2017
                          02704               LANGEVIN LLC
70    Brady, Marcella     1:16-cv-   Texas    MURPHY LAW FIRM,     03/13/2013     7     Category 7(e) Perforation (7.31.2013);    10/24/2016
      C.                  02882               LLC                                       Category 5 Failed Retrieval (same
                                                                                        record)
71    Breaux-Nabors,      1:17-cv-   Texas    BROWN & CROUPPEN,    03/25/2011     4     Category 5 Unable to Retrieve             6/23/2017
      Valeriun            02174               P.C.                                      (12.30.2013)
72    Buell, James        1:17-cv-   Texas    GOLDENBERG LAW,      11/22/2008     5     Category 5 Failed Retrieval (2.6.2009)    2/17/2017
                          00516               PLLC
73    Butler-King,        1:16-cv-   Texas    MATTHEWS &           07/22/2009     7     Category 7(c) Fracture (3.31.2014) and    7/11/2016
      Teresa H.           01849               ASSOCIATES                                Category 7(e) Perforation (2.6.2014)
74    Campbell,           1:17-cv-   Texas    MATTHEWS &           08/20/2010     7     Category 7(e) Perforation and Category    9/8/2017
      Chiquita L.         03181               ASSOCIATES                                3 Stenosis (records dated 11.21.2011
                                                                                        and 12.14.2011)
75    Carillo, Raul       1:17-cv-   Texas    BABBITT & JOHNSON,   08/14/2007     7     Category 7(e) Perforation (images         8/17/2017
                          02819               P.A.                                      dated 3.22.2015)
76    Carpenter, Sandy    1:18-cv-   Texas    GALLAGHER &          12/18/2012     7     Category 7(d) Migration (images dated     3/21/2018
      E.                  00928               KENNEDY, P.A.                             10.22.2014)
77    Cole, Alisa         1:17-cv-   Texas    LAW OFFICES OF       11/11/2010     7     Category 7(d) Migration; Category 7(e)    8/31/2017
                          03025               BAIRD BROWN                               Perforation; Category 7(f) PE (all same
                                                                                        record dated 3.20.2014)



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No.        Plaintiff      Case No.    State      Lead Counsel                    Cat.   Short Description of Injury and Date
                                                                        Date                                                        Date
78    County, Isaih       1:18-cv-   Texas    THE GALLAGHER        04/30/2012     6     Category 6 Tilt for both filters (only    10/5/2018
      [ESTATE OF]         03100               LAW FIRM PLLC                             record submitted is death certificate due
                                                                                        to PE with 6.12.2012 date of death)
79    Engelbrecht,        1:17-cv-   Texas    LEVIN PAPANTONIO     09/18/2006     5     Category 5 Failed Retrieval               7/6/2017
      Robert              02291               THOMAS MITCHELL                           (5.22.2007); Category 4 Unable to
                                              RAFFERTY &                                Retrieve (same record); Category 4
                                              PROCTOR, P.A.                             Ongoing Anticoagulation (6.26.2007)
80    Forester, Brent     1:18-cv-   Texas    MATTHEWS &           05/24/2007     7     Category 7(e) Perforation (10.21.2016);   12/10/2018
      C.                  03885               ASSOCIATES                                Category 5 Complex Retrieval
                                                                                        (10.21.2016); Category 4 Unable to
                                                                                        Retrieve (9.28.2016)
81    Fox, Gregory        1:18-cv-   Texas    MCGLYNN, GLISSON     07/05/2012     7     Category 7(g) Post placement DVT          8/24/2018
                          02628               & MOUTON                                  (8.17.2012)
82    Francis, Katrina    1:17-cv-   Texas    MURPHY LAW FIRM,     11/03/2008     7     Category 7(f) Recurrent PE                4/13/2017
                          01168               LLC                                       (11.18.2011 and 11.29.2011)
83    Gonzalez, Justin    1:15-cv-   Texas    MATTHEWS &           02/21/2013     7     Category 7(e) Perforation, Category 5     10/5/2015
                          01569               ASSOCIATES                                Failed Retrieval, Category 4 Unable to
                                                                                        Retrieve, Category 3 (claims supported
                                                                                        by records dated 8.16.2013)
84    Greig, Susan        1:17-cv-   Texas    LEVIN PAPANTONIO     12/13/2012     6     Category 6 Penetration (3.29.2013),       1/30/2017
                          00300               THOMAS MITCHELL                           Category 5 Failed Retrieval (same
                                              RAFFERTY &                                record), and Category 4 Unable to
                                              PROCTOR, P.A.                             retrieve (same record)
85    Houck, Louise L.    1:17-cv-   Texas    MURPHY LAW FIRM,     03/27/2011     5     Category 5 Failed Retrieval (8.29.2011    10/25/2017
                          03886               LLC                                       and 2.24.2012); Category 4 Unable to
                                                                                        Retrieve (same records)
86    Hubbard, Derrick 1:17-cv-      Texas    CRANDALL & KATT      10/20/2009     7     Category 7(f) PE (5.2.2013)               11/4/2016
      E. & Janice M.   00209



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No.        Plaintiff      Case No.    State      Lead Counsel                    Cat.   Short Description of Injury and Date
                                                                        Date                                                        Date
87    Ibarra, Maria A.    1:17-cv-   Texas    HEYGOOD, ORR &       01/06/2012     5     Category 5 Failed Retrieval (4.18.2012    9/21/2017
                          03363               PEARSON                                   and 10.4.2012); Category 4 Unable to
                                                                                        Retrieve (same records)
88    Jackson,            1:18-cv-   Texas    LOPEZ MCHUGH LLP     01/31/2011     7     Category 7(a) Occlusion, Category 7(c)    9/28/2018
      Gentriece           03012                                                         Fracture, Category 7(e) Perforation,
                                                                                        Category 7(f) Post-placement PE,
                                                                                        Category 5 Complex Retrieval (all
                                                                                        medical records dated in 2015 with
                                                                                        filters removed during complex
                                                                                        removal on 3.16.2015
89    Leal, Alberto       1:17-cv-   Texas    FLEMING, NOLEN &     04/15/2011     5     Category 5 Failed Retrieval (7.19.12);    6/14/2017
                          02020               JEZ, L.L.P.                               Category 4 Unable to Retrieve (same
                                                                                        records)
90    LeBlanc, Avery      1:18-cv-   Texas    MURPHY LAW FIRM,     04/30/2013     5     Category 5 Failed Retrieval (1.6.2015);   5/3/2018
                          01367               LLC                                       Category 4 Unable to Retrieve (same
                                                                                        records)
91    Leslie, Susan E.    1:17-cv-   Texas    MATTHEWS &           02/19/2010     7     Category 7(f) Post-placement PE           9/11/2017
                          03205               ASSOCIATES                                (9.24.2014), Category 7(g) DVT
                                                                                        (4.2.2010); Category 7(e) Perforation
                                                                                        (same records)
92    Linder, Colleen  1:17-cv-      Texas    LOPEZ MCHUGH LLP     12/12/2006     7     Category 7g DVT (4.20.2007);              12/18/2017
                       04670                                                            Category 5 Failed Retrieval (1.22.2007)
93    Lozano, Salvador 1:17-cv-      Texas    MATTHEWS &           12/02/2014     7     Category 7(e) Perforation (5.13.2015);    9/11/2017
      B.               03213                  ASSOCIATES                                Category 4 Unable to Retrieve
                                                                                        (5.15.2015)
94    Lunderman,          1:15-cv-   Texas    LOPEZ MCHUGH LLP     11/13/2008     5     Category 5 Failed Retrieval               9/30/2015
      Edward and          01542                                                         (6.22.2010); Category 3 Emotional
      Sarah Lynn                                                                        Distress



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No.         Plaintiff    Case No.    State       Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                          Date                                                       Date
95    Marsden, Bonnie    1:18-cv-   Texas    LAW OFFICES OF          09/14/2006     7     Category 7(e) Perforation (10.5.2015)    11/13/2018
                         03521               CHRISTOPHER K.
                                             JOHNSTON, LLC
96    McCutchin, Judy    1:17-cv-   Texas    MATTHEWS &              04/10/2010     7     Category 7(g) DVT (11.1.2011);           9/11/2017
      G.                 03219               ASSOCIATES                                   Category 6 (claim type unspecified);
                                                                                          Category 4 Unable to Retrieve
                                                                                          (11.10.2011)
97    McGee, Michelle    1:17-cv-   Texas    MOTLEY RICE LLC         10/25/2010     6     Category 6 Migration (4.21.2011)         6/29/2017
      D.                 02221
98    Medford, Alicia    1:18-cv-   Texas    JOHNSON LAW             01/17/2008     5     Category 5 Failed Retrieval (8.1.2008)   9/21/2018
                         02940               GROUP
99    Murray, Diana      1:17-cv-   Texas    CURTIS LAW GROUP        01/11/2007     7     Category 7(F) Post-placement PE          9/1/2017
                         03046                                                            (2.22.2008); filter successfully removed
                                                                                          on 4.16.2008)
100 Picou, Joseph G.     1:16-cv-   Texas    GRUBER & GRUBER         01/16/2012     7     Category 7(a) Occlusion (6.22.2013);     10/11/2016
                         02747                                                            Category 7(g) DVT (same record)
101 Ramon, Allysha       1:16-cv-   Texas    DEGARIS & ROGERS,       04/17/2011     5     Category 5 Failed Retrieval (7.20.2011) 5/3/2016
                         01046               LLC
102 Ramos, Carol         1:17-cv-   Texas    WENDT LAW FIRM          11/21/2007     6     Category 6 Thrombusi in Filter          8/29/2017
                         02975                                                            (12.13.2007); Category 5 Failed
                                                                                          Retrieval Attempt (same record)
103 Rankin, Betty T. 1:17-cv-       Texas    FLEMING, NOLEN &        10/25/2011     5     Category 5 Failed Retrieval (1.30.2012) 6/13/2017
                     01978                   JEZ, L.L.P.
104 Ray, Gregory     1:16-cv-       Texas    BABBITT & JOHNSON,      04/28/2009     7     Category 7(a) Occlusion (12.3.2013);     8/9/2016
    Neill            02135                   P.A.                                         Category 7(d) Migration (same record)
105 Robertson,       1:18-cv-       Texas    CURTIS LAW GROUP        03/25/2008     7     Category 7(e) Perforation (1.9.2015);    5/4/2018
    Latasha          01396                                                                Category 7(g) DVT (9.12.2008)
106 Romero, Elvia G. 1:17-cv-       Texas    FLEMING, NOLEN &        11/05/2009     5     Category 5 Failed Retrieval              5/26/2017
                     01763                   JEZ, L.L.P.                                  (12.21.2009)


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No.         Plaintiff    Case No.     State        Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                        Date
107 Sharp, Sharon K.     1:16-cv-   Texas      FLEMING, NOLEN &        12/12/2013     7     Category 7(e) Perforation (12.18.2013); 10/12/2016
                         02763                 JEZ, L.L.P.                                  Category 4 Unable to Retrieve (same
                                                                                            record)
108 Simmons,             1:18-cv-   Texas      WAGSTAFF &              03/14/2005     7     Category 7(c) Fracture (12.17.2009)     1/25/2018
    Marcus K.            00212                 CARTMELL, LLP
109 Surles, Enoch &      1:16-cv-   Texas      BABBITT & JOHNSON,      05/26/2011     7     Category 7(e) Perforation (11.7.2013)     9/1/2016
    Julia                02361                 P.A.
110 Taylor, Amber        1:18-cv-   Texas      JOHNSON LAW             03/21/2011     6     Category 6 Tilt (3.5.2012); Category 5 8/17/2018
                         02549                 GROUP                                        Failed Retrieval (same records)
111 Trevino, Jose        1:17-cv-   Texas      MCSWEENEY               10/16/2009     5     Category 5 Failed Retrieval (12.4.2009) 8/10/2017
                         02728                 LANGEVIN LLC
112 Tubbs, Jerry and     1:18-cv-   Texas      LOPEZ MCHUGH LLP        10/15/2012     7     Category 7(e) Perforation (11.25.2015)    9/26/2018
    Annia                02978
113 Tucker, Ellen        1:17-cv-   Texas      MATTHEWS &              11/02/2012     7     Category 7(d) Migration and Category      9/12/2017
                         03235                 ASSOCIATES                                   7(e) Perforation (7.28.2015)
114 Walker, Hattie       1:18-cv-   Texas      BROWN & CROUPPEN,       05/24/2011     4     Category 4 Unable to Retrieve             9/21/2018
                         02931                 P.C.                                         (9.7.2012)
115 Weaver, Annette      1:14-cv-   Texas      LEE MURPHY LAW          05/10/2011     7     Category 7(c) Fracture (8.29.2012)        9/19/2014
    [ESTATE]             06014                 FIRM, G.P.
116 Yandell, Connie      1:18-cv-   Texas      LOPEZ MCHUGH LLP        07/29/2009     7     Category 7(a) Occlusion (4.29.2014);      4/6/2018
    and Calvin           01073                                                              Category 5 Failed Retrieval Attempt
                                                                                            (8.8.2011)
117 Alger, Lessie        1:17-cv-   Virginia   CURTIS LAW GROUP        02/10/2012     5     Category 5 Failed Retrieval (3.27.12      4/3/2017
                         01023                                                              and 4.3.12)
118 Bennett, Zachary     1:18-cv-   Virginia   FEARS NACHAWATI,        09/18/2009     6     Category 6 Perforation (1.6.2015)         4/16/2018
    Raymond              01148                 PLLC
119 Brown-Street,        1:17-cv-   Virginia   CURTIS LAW GROUP        02/28/2010     5     Category 5 Failed Retrieval (4.3.2012);   5/17/2017
    Sonya                01625                                                              Category 5 Unable to Retrieve (same
                                                                                            records)


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No.         Plaintiff    Case No.     State        Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                         Date
120 Bryan, Lucretia      1:18-cv-   Virginia   MCGLYNN, GLISSON        06/07/2007     7     Category 7(f) PE; Category 5 Failed     6/15/2018
                         01839                 & MOUTON                                     Retrieval; Category 3 Anticoagulation
                                                                                            (records dated 11.2.2012)
121 Coleman, Dianna      1:16-cv-   Virginia   BABBITT & JOHNSON,      11/11/2011     5     Category 5 Failed Retrieval (9.12.2012) 10/25/2016
    & Jerry              02894                 P.A.
122 Del Cid, Jose        1:17-cv-   Virginia   THE MILLER FIRM         12/02/2011     7     Category 7(d) Migration (2.4.2012);        5/23/2017
                         01704                 LLC                                          Category 7(g) DVT (12.22011,
                                                                                            1.13.2012 and 2.7.2011); Category 5
                                                                                            Failed Retrieval (2.22.2012)
123 Fletcher,            1:18-cv-   Virginia   NIEMEYER, GREBEL        09/08/2011     7     Category 7 Migration and Perforation       5/6/2016
    Franklin             00644                 & KRUSE, LLC                                 and Category 4 Unable to Retrieve          (initially
                                                                                            (multiple records submitted that are all   filed as
                                                                                            from 2011)                                 part of
                                                                                                                                       multi-
                                                                                                                                       plaintiff
                                                                                                                                       case no.
                                                                                                                                       1:17-cv-
                                                                                                                                       06065)
123 Fox, Lynell          1:15-cv-   Virginia   THE NATIONS LAW         12/29/2010     5     Category 5 Failed Retrieval Attempts       11/19/2015
    Margaret             01822                 FIRM                                         (6.14.2011 and 6.23.2011)
125 Frank, Kelly         1:15-cv-   Virginia   FEARS NACHAWATI,        03/14/2013     7     Category 7(c) Fracture (6.4.2013)          7/9/2015
                         01070                 PLLC
126 Franklin, Sharon     1:17-cv-   Virginia   MOTLEY RICE LLC         05/23/2009     5     Category 5 Failed Retrieval (7.9.2011)     6/22/2017
    H. & Paul A.         02162
127 Geberth, Patricia    1:16-cv-   Virginia   LOPEZ MCHUGH LLP        12/23/2009     6     Category 6 (perforation and difficult      9/30/2016
    J. & Roy J.          02600                                                              retrieval claims regarding 2 filters) -
                                                                                            multiple record submitted in support
                                                                                            with latest record dated 4.11.2011



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No.         Plaintiff    Case No.     State        Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                        Date
128 Gee, Barbara         1:17-cv-   Virginia   MATTHEWS &              05/08/2010     7     Category 7 Migration and Perforation      6/16/2017
                         02058                 ASSOCIATES                                   (4.24.2014); Category 5 Failed
                                                                                            Retrieval Attempts (9.29.2010 and
                                                                                            5.20.2014); Category 4 Unable to
                                                                                            Retrieve (same records)
129 Jackson, Sandra      1:16-cv-   [left      MESHBESHER &            11/23/2009     7     Category 7(c) Fracture (1.22.2013);       5/3/2016
                         01033      blank]     SPENCE, LTD.                                 Category 7(e) Perforation (1.22.2013)
130 Jeffers, Mark        1:18-cv-   Virginia   THE GALLAGHER           03/19/2007     5     Category 5 Failed Retrieval               8/9/2018
    [ESTATE OF]          02447                 LAW FIRM PLLC                                (11.28.2007); Category 4 (same
                                                                                            records)
131 Lee, Dionne          1:17-cv-   Virginia   CURTIS LAW GROUP        06/28/2010     7     Category 7a Thrombosis (1.21.2011);       9/1/2017
                         03058                                                              Category 7(F) Post-placement PE
                                                                                            (same record
132 Lipscomb,            1:17-cv-   Virginia   FLEMING, NOLEN &        03/17/2010     7     Category 7(d) Migration, Category 7(e)    9/29/2017
    Donald E. Jr.        03494                 JEZ, L.L.P.                                  Perforation, Category 5 Failed
                                                                                            Retrieval, Category 4 Unable to
                                                                                            Retrieve (all claims supported by
                                                                                            records dated 9.22.2010 to 9.24.2010)
133 Mauck, John          1:17-cv-   Virginia   MURRAY LAW FIRM         09/29/2012     7     Category 7(g) DVT and Category 5          9/19/2017
                         03328                                                              Failed Retrieval (all records dated
                                                                                            4.25.2013)
134 McGahan,             1:17-cv-   Virginia   BABBITT & JOHNSON,      06/30/2009     7     Category 7(a) Occlusion (8.21.2010);      7/12/2017
    Sandra               02364                 P.A.                                         Category 7(e) Perforation (8.22.2010);
                                                                                            Category 7(h) Infection (8.30.2010);
                                                                                            Category 5 Failed Retrieval (8.30.2010)
135 Newhouse,            1:18-cv-   Virginia   BURNETT LAW FIRM        01/27/2006     7     Category 7(b) (only 1.27.2006 implant     6/1/2018
    Robin and            01662                                                              records submitted)
    Frederick, Sr.



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No.         Plaintiff    Case No.     State        Lead Counsel                      Cat.   Short Description of Injury and Date
                                                                            Date                                                        Date
136 Penaranda,           1:16-cv-   Virginia   BARON & BUDD, P.C.      05/01/2012     7     Category 7(e) Perforation (1.18.2013)     5/2/2016
    Rafael               01005                                                              and Category 5 Failed Retrieval (same
                                                                                            record)
137 Phillips, Sherrie    1:18-cv-   Virginia   LAW OFFICE OF           Unknown        7     Category 7(a) Occlusion and Category      2/26/2018
                         00549                 CHRISTOPHER K.                               5 Failed Retrieval (highlighted records
                                               JOHNSTON, LLC                                dated 8.29.2014 and 11.5.2014 to
                                                                                            11.8.2014)
138 Pitts, Earline       1:17-cv-   Virginia   MARC J. BERN &          03/06/2012     7     Category 7(f) PE (5.7.2015)               10/31/2017
                         03992                 PARTNERS, LLP
139 Poteat, Betty        1:19-v-    Virginia   JOHNSON LAW             07/03/2010     7     Category 7(g) DVT (7.6.2010);             2/27/2019
                         00843                 GROUP                                        Category 5 Failed Retrieval (same
                                                                                            record); Category 4 Unable to Retrieve
                                                                                            (same record)
140 Shields, Curtis      1:18-cv-   Virginia   WAGSTAFF &              09/18/2013     7     Category 7(g) DVT (11.4.2013);            5/4/2018
                         01379                 CARTMELL, LLP                                Category 5 Failed Retrieval
                                                                                            (10.29.2013); Category 4 Unable to
                                                                                            Retrieve (same record)
141 Smith, James         1:18-cv-   Virginia   THE MOODY LAW           04/08/2010     6     Category 3, 4, 5, and 6 (submitted        10/5/2018
    Carmichael           03096                 FIRM, INC.                                   records dated 3.28.2011)
142 Smith, Richard       1:17-cv-   Virginia   LAW OFFICES OF          09/25/2012     7     Category 7a Occlusion, Category 7d        8/16/2017
                         02800                 BAIRD BROWN                                  Migration, Category 7g DVT, Category
                                                                                            5 Failed Retrieval (submitted record
                                                                                            dated 11.27.2013)
143 Southern, George     1:18-cv-   Virginia   THE MOODY LAW     07/13/2007           6     Category 6 Perforation (images dated      11/15/2018
    Jr. and Edith        03575                 FIRM, INC.                                   7.24.2014)
144 Williams, Myrtle     1:17-cv-   Virginia   HENINGER GARRISON 01/02/2012           5     Category 5 Failed Retrieval               3/7/2017
    & Wilson             00679                 DAVIS, LLC                                   (12.24.2011)




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